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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  SUSAN L. DALE,                               §
                                               §
                   Plaintiff,                  §
                                               §
  vs.                                          §   CASE NO. 17-CV-677-TCK-JFJ
                                               §
  MAIN EVENT ENTERTAINMENT LP                  §
  d/b/a MAIN EVENT ENTERTAINMENT               §   JURY TRIAL DEMANDED
  a foreign limited partnership,               §
                                               §
                                               §
                   Defendant.
                                               §

                                           ORDER

         Pending before the Court is Defendant’s Motion for Relief from Local Counsel

  Requirement and Supporting Brief (Doc. 7). For good cause shown, the Motion will be, and

  hereby is, GRANTED. The local counsel requirement (See LCvR 83.3(c)) is waived, and non-

  resident counsel Steven L. Rahhal may appear in this case on behalf of the defendant without

  local counsel.

         IT IS SO ORDERED this 12th day of February, 2018.




                                                   TERENCE C. KERN
                                                   UNITED STATES DISTRICT JUDGE
